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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   CASE NO. 13CR3820 WQH

                      Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
RIGOBERTO PARDO-RUELAS,

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

__x__ an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudicei or

     the Court has dismissed the case for unnecessary delaYi or

     the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittali or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

__
 X__ of the offense(s) as charged in the Indictment/Information:

     8:1326(a) and (b) - Attempted Reentry of Removed Alien



          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: 11/21/2013


                                                   Magistrate Judge
